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                                                  Schedule A

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                                                                                             Certificate of   Date of
Cause of                          Musical                             Date of                Registration     Known
Action        Plaintiff           Composition      Writers            Publication            Number           Infringement

1.            UNIVERSAL          ROCK THE              Nicholas B.        May 16, 1982        PA 146-739       December 14,
              POLYGRAM           CASBAH                Headon                                                  2018
              INTERNATIONAL
              PUBLISHING, INC.                         Michael G.
                                                       Jones

                                                       John Mellor

2.            CENTER CITY        CENTERFOLD            Seth Justman       October 26, 1981    PA 120-465       December 15,
              MUSIC                                                                                            2018

              PAL PARK MUSIC


3.            RAY VAUGHAN             PRIDE AND        Stevie Ray         June 10, 1983       PA 253-122       December 15,
              MUSIC, INC.             JOY              Vaughan                                                 2018




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